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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued March 7, 2023                 Decided August 29, 2023

                                     No. 22-1142

                           GRAYSCALE INVESTMENTS, LLC,
                                   PETITIONER

                                           v.

                      SECURITIES AND EXCHANGE COMMISSION,
                                   RESPONDENT


                          On Petition for Review of an Order
                     of the Securities and Exchange Commission


                Donald B. Verrilli, Jr. argued the cause for petitioner.
            With him on the briefs were Paul Mishkin, Joseph A. Hall,
            Daniel J. Schwartz, Elaine J. Goldenberg, and Sarah E.
            Weiner.

                 Jonathan Cooper and Rachel Frank were on the brief for
            amici curiae Blockchain Association, et al. in support of
            petitioner.

                 Joseph R. Palmore and Adam L. Sorensen were on the
            brief for amicus curiae Coinbase, Inc. in support of petitioner.

                Robert A. Long, Jr. and Kevin King were on the brief for
            amicus curiae NYSE Arca, Inc. in support of petitioner.
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                 Stephen B. Kinnaird was on the brief for amici curiae
            Investor Choice Advocates Network, et al. in support of
            petitioner.

                 Jordan L. Von Bokern, Tyler S. Badgley, and Judson O.
            Littleton were on the brief for amicus curiae The Chamber of
            Commerce of the United States of America in support of
            petitioner.

                Emily True Parise, Senior Appellate Counsel, U.S.
            Securities and Exchange Commission, argued the cause for
            respondent. With her on the brief were Megan Barbero,
            General Counsel, Michael A. Conley, Solicitor, Tracey A.
            Hardin, Assistant General Counsel, David D. Lisitza, Senior
            Appellate Counsel, and Daniel T. Young, Attorney.

                Before: SRINIVASAN, Chief Judge, RAO, Circuit Judge,
            and EDWARDS, Senior Circuit Judge.

                Opinion for the Court filed by Circuit Judge RAO.

                 RAO, Circuit Judge: It is a fundamental principle of
            administrative law that agencies must treat like cases alike. The
            Securities and Exchange Commission recently approved the
            trading of two bitcoin futures funds on national exchanges but
            denied approval of Grayscale’s bitcoin fund. Petitioning for
            review of the Commission’s denial order, Grayscale maintains
            its proposed bitcoin exchange-traded product is materially
            similar to the bitcoin futures exchange-traded products and
            should have been approved to trade on NYSE Arca.

                 We agree. The denial of Grayscale’s proposal was
            arbitrary and capricious because the Commission failed to
            explain its different treatment of similar products. We therefore
            grant Grayscale’s petition and vacate the order.
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                                           I.

                Before listing a new product for trading, a securities
            exchange generally must file a rule change with the SEC. See
            Securities Act Amendments of 1975, Pub. L. No. 94-29, sec.
            16, § 19(b), 89 Stat. 147–48 (codified at 15 U.S.C. § 78s(b)).
            The Commission “shall approve” a new rule if it “finds that
            such proposed rule change is consistent with the requirements”
            of the Exchange Act and any SEC regulations. 15 U.S.C.
            § 78s(b)(2)(C)(i).

                 Under the Exchange Act, the rules of an exchange must be
            “designed to prevent fraudulent and manipulative acts and
            practices, to promote just and equitable principles of trade, to
            foster cooperation and coordination …, to remove impediments
            to … a free and open market …, and, in general, to protect
            investors and the public interest.” Id. § 78f(b)(5). The rules of
            an exchange may not be “designed to permit unfair
            discrimination between customers, issuers, brokers, or dealers,
            or to regulate … matters not related to the … administration of
            the exchange.” Id. The Commission has not promulgated a
            regulation interpreting and implementing these standards.
            Rather, it approves rule changes on a case-by-case basis. The
            “burden to demonstrate that a proposed rule change is
            consistent with the Exchange Act” is on the securities exchange
            proposing the new rule. 17 C.F.R. § 201.700(b)(3).

                                          A.

                 This case involves two kinds of exchange-traded products
            (“ETPs”)—those holding bitcoins and those holding bitcoin
            futures. Grayscale’s primary claim is that the Commission
            failed to treat like cases alike by denying the listing of
            Grayscale’s proposed bitcoin ETP and approving two bitcoin
            futures ETPs. Because assessing this claim requires an
            understanding of how the products work, we briefly explain
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            bitcoin, the spot and futures markets, and exchange-traded
            products.

                 Bitcoins are cryptocurrency, a kind of digital “token” that
            can be used to pay for goods and services directly or exchanged
            for traditional currencies. Bitcoin is not tracked through bank
            ledgers like traditional currencies. Instead, bitcoin transactions
            are recorded on a blockchain maintained by a decentralized
            computer network. Grayscale Order, 87 Fed. Reg. 40,299,
            40,300 (July 6, 2022). One bitcoin was worth less than a penny
            in 2009 and by mid-2023 was worth about $30,000. John
            Edwards, Bitcoin’s Price History, INVESTOPEDIA.COM (2023),
            https://perma.cc/98H5-T9MV.

                 As with commodities, there are spot and futures markets
            for bitcoin. A spot market is another term for the cash market
            of a commodity or financial instrument. In the bitcoin spot
            market, cash is exchanged for bitcoin, with delivery expected
            immediately. In a derivatives market, by contrast, the financial
            instrument being traded derives its value from the underlying
            spot market but is not traded on that market. One such
            derivative is a future, which is a contract to buy or sell an asset
            at a predetermined price on a specific later date. Futures
            contracts, which enable investors to hedge against risk, trade
            on commodity futures exchanges, like the Chicago Mercantile
            Exchange (“CME”), a global derivatives market. The CME is
            regulated by the Commodity Futures Trading Commission
            (“CFTC”).

                 At issue in this case are bitcoin investment funds that hold
            either bitcoin or bitcoin futures contracts. Many bitcoin and
            bitcoin futures funds have sought to be listed and traded on a
            national exchange—that is to become exchange-traded
            products. See, e.g., Winklevoss Order, 83 Fed. Reg. 37,579,
            37,579 (Aug. 1, 2018); Teucrium Order, 87 Fed. Reg. 21,676,
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            21,676 (Apr. 12, 2022). An exchange-traded product may offer
            continuous share redemption and creation, allowing arbitrage
            to prevent the product’s price from deviating too far from the
            value of its underlying assets. Products not traded on an
            exchange cannot offer this, so rather than tracking the value of
            the underlying assets, they often trade at a discount. Listing on
            an exchange is desirable because it helps eliminate this
            discount.

                  Over the last several years, the Commission received
            numerous proposals to list bitcoin investment products on
            national exchanges. The Commission denied every proposal to
            list a bitcoin ETP. For example, in 2018, the SEC denied Bats
            BZX Exchange’s proposal to list the Winklevoss Bitcoin Trust.
            Winklevoss Order, 83 Fed. Reg. at 37,579. And in 2020, the
            SEC denied NYSE Arca’s proposal to list the United States
            Bitcoin and Treasury Investment Trust.1 USBTIT Order, 85
            Fed. Reg. 12,595, 12,596 (Mar. 3, 2020). In each of these
            orders, the SEC denied the listing of the proposed bitcoin ETP
            for the same reason: the products were not “designed to prevent
            fraudulent and manipulative acts and practices” as required by
            the Exchange Act. See, e.g., Winklevoss Order, 83 Fed. Reg. at
            37,580. Specifically, the SEC found that protections inherent
            to bitcoin—like the blockchain and the size and liquidity of the
            bitcoin market—were insufficient to prevent fraud. See
            Grayscale Order, 87 Fed. Reg. at 40,305–06. The Commission
            instead required a surveillance sharing agreement with a related
            and regulated market of significant size. But every proposed



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             These are just two examples among many. See, e.g., NYDIG Order,
            87 Fed. Reg. 14,932, 14,932 (Mar. 16, 2022) (denying the listing of
            a bitcoin fund); One River Order, 87 Fed. Reg. 33,548, 33,549 (June
            2, 2022) (same); Bitwise Order, 87 Fed. Reg. 40,282, 40,282 (July 6,
            2022) (same).
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            bitcoin ETP failed the Commission’s significant market test.
            See id. at 40,302.

                  Two bitcoin futures ETPs, however, were recently
            approved by the Commission. In April 2022, the Commission
            approved NYSE Arca’s proposal to list the Teucrium Bitcoin
            Futures Fund. Teucrium Order, 87 Fed. Reg. at 21,676. A
            month later, the Nasdaq’s proposal to list the Valkyrie XBTO
            Bitcoin Futures Fund was approved. Valkyrie Order, 87 Fed.
            Reg. 28,848, 28,848 (May 11, 2022). For both products, the
            listing exchange had a surveillance sharing agreement with the
            CME that the Commission found satisfied the significant
            market test. Id. at 28,850; Teucrium Order, 87 Fed. Reg. at
            21,682. In both orders, the Commission explicitly stated that
            approval of bitcoin futures ETPs did not mean approval of
            bitcoin ETPs was imminent. See Teucrium Order, 87 Fed. Reg.
            at 21,678 n.31; Valkyrie Order, 87 Fed. Reg. at 28,850 n.29.

                                          B.

                  The Grayscale Bitcoin Trust is a would-be bitcoin ETP.
            Grayscale currently owns 3.4 percent of outstanding bitcoins,
            worth tens of billions of dollars. Grayscale Order, 87 Fed. Reg.
            at 40,314. If Grayscale traded on an exchange, it would be
            worth roughly the value of the assets in the Trust. Because
            Grayscale does not have SEC approval to trade on an exchange,
            however, its shares are restricted securities, with trading
            limited to accredited investors and over-the-counter markets
            not registered with the SEC. As Grayscale explains, it cannot
            offer the continuous share redemptions and creations that are
            permissible for ETPs and add enormous value. Accordingly,
            Grayscale’s shares trade at a discount—as much as 30 percent.
            Grayscale estimates this leaves over $4 billion on the table for
            its investors.
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                  NYSE Arca, an affiliate of the New York Stock Exchange,
            proposed listing shares of the Grayscale Bitcoin Trust. See
            Grayscale Proposal, 86 Fed. Reg. 61,804, 61,804 (Nov. 8,
            2021). Of the thousands of public comments, nearly all favored
            listing Grayscale. Nonetheless, the Commission denied the rule
            change, finding “NYSE Arca ha[d] not met its burden to
            demonstrate that its proposal [was] consistent with the
            requirements of [the] Exchange Act.” Grayscale Order, 87 Fed.
            Reg. at 40,302. As with every other proposed bitcoin ETP, the
            Commission found Grayscale was not “designed to prevent
            fraudulent and manipulative acts and practices” and failed to
            satisfy the significant market test. Id. Grayscale petitions for
            review.

                                          II.

                 We have jurisdiction over Grayscale’s petition under the
            Exchange Act, which provides that a “person aggrieved by a
            final order of the Commission … may obtain review of the
            order in the United States Court of Appeals for the … District
            of Columbia Circuit, by filing in such court, within sixty days.”
            15 U.S.C. § 78y(a)(1). The Administrative Procedure Act
            (“APA”) requires the reviewing court to “hold unlawful and set
            aside agency action” that is “arbitrary, capricious, an abuse of
            discretion, or otherwise not in accordance with law.” 5 U.S.C.
            § 706(2). When assessing an arbitrary and capricious claim, we
            consider whether the agency’s decision was “reasonable and
            reasonably explained.” FCC v. Prometheus Radio Project, 141
            S. Ct. 1150, 1158 (2021). We will not substitute our policy
            judgments for that of the agency. Instead, we ensure the agency
            “considered the relevant issues” and adequately “explained the
            decision.” Id.
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                                            III.

                  Grayscale’s primary argument is straightforward: the
            Commission acted arbitrarily and capriciously by denying the
            listing of Grayscale’s proposed bitcoin ETP and approving the
            listing of materially similar bitcoin futures ETPs.2

                 To evaluate Grayscale’s petition, we first must consider
            whether Grayscale demonstrated its investment product was
            similar across the relevant regulatory factors to the Teucrium
            and Valkyrie ETPs that were approved by the Commission.
            “[T]he great principle that like cases must receive like
            treatment is … black letter administrative law.” Baltimore Gas
            & Elec. Co. v. FERC, 954 F.3d 279, 286 (D.C. Cir. 2020)
            (cleaned up); see also Westar Energy, Inc. v. FERC, 473 F.3d
            1239, 1241 (D.C. Cir. 2007) (“A fundamental norm of
            administrative procedure requires an agency to treat like cases
            alike.”). In fact, “dissimilar treatment of evidently identical
            cases” is “the quintessence of arbitrariness and caprice.” See
            Colo. Interstate Gas Co. v. FERC, 850 F.2d 769, 774 (D.C. Cir.
            1988). Failing to distinguish “prior orders in similar
            cases … fails to satisfy the APA’s reasoned decisionmaking
            requirement.” Baltimore Gas, 954 F.3d at 285. Particularly
            when agencies articulate legal standards on a case-by-case
            basis, they must justify different results reached on similar facts

            2
              Grayscale also maintains the significant market test is contrary to
            law because it imposes requirements beyond the Exchange Act. The
            Act requires rule changes be “designed to prevent fraudulent and
            manipulative acts.” 15 U.S.C. § 78f(b)(5). A surveillance sharing
            agreement might be one way to protect against fraud, but Grayscale
            argues it is not the only way. By effectively requiring a surveillance
            sharing agreement, Grayscale maintains the Commission displaced
            the Exchange Act with a stricter, standalone surveillance
            requirement. We do not reach this argument because we set aside the
            SEC’s order as arbitrary and capricious.
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            “to lend predictability and intelligibility” to agency actions,
            “promote fair treatment, and facilitate judicial review.” Id. at
            286. These principles are especially salient here, as the
            Commission must ensure the rules of an exchange “are not
            designed to permit unfair discrimination between customers,
            issuers, brokers, or dealers.” 15 U.S.C. § 78f(b)(5). Treating
            similarly situated parties differently is at the core of “unfair
            discrimination.”

                 If we find that Grayscale is similar to the bitcoin futures
            ETPs across the relevant regulatory factors, we must determine
            whether the Commission provided an adequate explanation for
            approving the two bitcoin futures ETPs but denying
            Grayscale’s bitcoin ETP. “If a party plausibly alleges it has
            received inconsistent treatment under the same rule or
            standard, we must consider whether the agency has offered a
            reasonable and coherent explanation for the seemingly
            inconsistent results.” Baltimore Gas, 954 F.3d at 286; see also
            Petroleum Communications, Inc. v. FCC, 22 F.3d 1164, 1172
            (D.C. Cir. 1994) (“We have long held that an agency must
            provide adequate explanation before it treats similarly situated
            parties differently.”). The distinctions made by the agency must
            be relevant to the action at issue and “rationally explain[ed].”
            See Consol. Edison Co. of N.Y., Inc. v. FERC, 45 F.4th 265,
            280 (D.C. Cir. 2022) (per curiam).

                                           A.

                 Grayscale advanced substantial evidence that its proposed
            bitcoin ETP was similar to the Teucrium and Valkyrie bitcoin
            futures ETPs and therefore should have received the same
            regulatory treatment.

                 Grayscale’s proposed bitcoin ETP and the approved
            bitcoin futures ETPs all track the bitcoin market price, i.e., the
            spot market price. Grayscale’s link is direct: it holds bitcoins.
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             Grayscale calculates the value of its bitcoin assets using the
             CoinDesk Bitcoin Price Index, which is based on spot trading
             across four major bitcoin platforms. See Grayscale Order, 87
             Fed. Reg. at 40,302 & n.35, 40,317–18. The bitcoin futures
             ETPs hold CME futures contracts, but their exposure to the
             spot market price is nearly identical to Grayscale’s proposed
             ETP. Grayscale presented uncontested evidence that there is a
             99.9 percent correlation between bitcoin’s spot market and
             CME futures contract prices. See id. at 40,318 n.223. This tight
             correlation is not a coincidence: bitcoin futures prices are
             ultimately based on spot market prices. Bitcoin futures trade
             based on predicted settlement prices that are in turn calculated
             using the Bitcoin Reference Rate. The Reference Rate, like the
             CoinDesk Index, aggregates spot prices from multiple
             exchanges. Id. at 40,317. Four of the six exchanges are shared
             between the indexes. See id. at 40,318. A study conducted by a
             finance professor and expert on derivative contract valuation
             found the CoinDesk Index and the Reference Rate are “near
             perfect substitutes.” Robert E. Whaley, Comment Letter on
             Proposed Rule to List Grayscale 1 (May 25, 2022).

                  Moreover, the listing exchanges for Grayscale and the
             bitcoin futures ETPs have identical surveillance sharing
             agreements with the CME, on which bitcoin futures trade.
             Compare Grayscale Order, 87 Fed. Reg. at 40,317, with
             Teucrium Order, 87 Fed. Reg. at 21,678, and Valkyrie Order,
             87 Fed. Reg. at 28,850. Because the spot and futures markets
             for bitcoin are highly related, it stands to reason that
             manipulation in either market will affect the price of bitcoin
             futures. The Commission acknowledged this connection when
             approving the Teucrium and Valkyrie ETPs. The Commission
             found “CME’s surveillance can reasonably be relied upon to
             capture the effects on the CME bitcoin futures market caused
             by a person attempting to manipulate the proposed futures
             ETP … whether that attempt is made by directly trading on the
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             CME bitcoin futures market or indirectly by trading outside of
             the CME bitcoin futures market.” Teucrium Order, 87 Fed.
             Reg. at 21,679; Valkyrie Order, 87 Fed. Reg. at 28,851. To the
             extent that the price of bitcoin futures might be affected by
             trading in both the futures and spot markets, the Commission
             concluded fraud in either market could be detected by
             surveillance of the CME futures market.

                  Grayscale has demonstrated its proposed bitcoin ETP is
             materially similar, across relevant regulatory factors, to the
             approved bitcoin futures ETPs. First, the underlying assets—
             bitcoin and bitcoin futures—are closely correlated. And
             second, the surveillance sharing agreements with the CME are
             identical and should have the same likelihood of detecting
             fraudulent or manipulative conduct in the market for bitcoin
             and bitcoin futures.

                                           B.

                  Despite these salient similarities, the Commission rejected
             Grayscale’s proposed bitcoin ETP and approved two bitcoin
             futures ETPs. The Commission distinguished the two products
             solely through the application of the significant market test.

                  The Commission requires bitcoin-based ETPs to address
             concerns of fraud and manipulation by having their listing
             exchanges enter into surveillance sharing agreements with
             markets that are (1) related to the listing exchange, (2)
             regulated, and (3) of significant size. See Grayscale Order, 87
             Fed. Reg. at 40,300. If fraud or manipulation occurs, the
             surveillance sharing agreement, in theory, should identify the
             problem. Surveillance sharing agreements “provide a
             necessary deterrent to manipulation because they facilitate the
             availability of information needed to fully investigate a
             manipulation if it were to occur.” Id. at 40,301.
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                  The Commission acknowledges NYSE Arca has a
             surveillance sharing agreement with the CME; the CME
             bitcoin futures market is related to Grayscale’s proposed ETP;
             and the CME is adequately regulated by the CFTC. See id. The
             only dispute is whether the CME market for bitcoin futures is
             a market of significant size. Id.

                  Despite its name, the “significant market” or “market of
             significant size” requirement implicates more than the size of
             the surveilled market. See id. at 40,300. To allow the
             Commission to assess whether market manipulation will be
             detected in the surveilled market, the significant market test has
             two prongs. First, there must be “a reasonable likelihood that a
             person attempting to manipulate the ETP would … have to
             trade on [the related] market to successfully manipulate the
             ETP.” Id. In other words, the Commission will consider
             whether a person attempting to manipulate the ETP could
             simply bypass the related market and thus circumvent the
             surveillance. Second, it must be “unlikely that trading in the
             ETP would be the predominant influence on prices in [the
             surveilled] market.” Id. If trading in the ETP dominated prices
             in the surveilled market, that market might be unable to pick up
             price discrepancies between the ETP and its underlying assets.3

                  The Commission concluded that Grayscale, like every
             other proposed bitcoin ETP, failed to meet both prongs of the
             significant market test. By contrast, the Commission found the
             significant market test satisfied for the Valkyrie and Teucrium
             bitcoin futures ETPs. This differential application of the


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              The SEC indicated these prongs are “illustrative and not exclusive.”
             Wise Origin Order, 87 Fed. Reg. 5,527, 5,528 n.16 (Feb. 1, 2022).
             “There could be other types of ‘significant markets’ and ‘markets of
             significant size.’” Id. With respect to bitcoin ETPs, however, the
             Commission applied only these prongs.
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             significant market requirement is at the core of Grayscale’s
             arbitrary and capricious challenge. We take each prong in turn.

                                            C.

                  The Commission found Grayscale failed the first prong of
             the significant market requirement because there was not “a
             reasonable likelihood that a person attempting to manipulate
             [Grayscale] would have to trade on the CME.” Id. at 40,311.
             On the other hand, the Commission found it was “unnecessary”
             for the bitcoin futures ETPs to establish a “would-be
             manipulator would have to trade on the CME.” Teucrium
             Order, 87 Fed. Reg. at 21,679; see also Valkyrie Order, 87 Fed.
             Reg. at 28,852 (explaining “deficiencies” in Nasdaq’s evidence
             of whether there was “a reasonable likelihood that a would-be
             manipulator of the proposed ETP would have to trade on the
             CME” did not prevent approval). According to the
             Commission, this showing was unnecessary for the bitcoin
             futures ETPs because their only holdings are securities traded
             directly on the surveilled exchange. Grayscale maintains it
             should be treated the same as the bitcoin futures ETPs, despite
             the fact that its holdings do not trade on the CME. Grayscale
             has the same economic risks as the futures ETPs, and so a
             surveillance sharing agreement with the CME should have
             similar fraud prevention capabilities. Therefore, Grayscale
             reasons, it should also be exempted from the first prong.

                 Under the first prong of the significant market test, the
             Commission failed to provide the necessary “reasonable and
             coherent explanation” for its inconsistent treatment of similar
             products. Baltimore Gas, 954 F.3d at 286.

                                            1.

                  The Commission never explained why Grayscale owning
             bitcoins rather than bitcoin futures affects the CME’s ability to
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             detect fraud. While the Commission asserted that owning
             assets not traded on the surveilled exchange was a “significant
             difference” and proclaimed that there was “reason to question
             whether a surveillance-sharing agreement with the CME
             would, in fact, assist in detecting and deterring fraudulent and
             manipulative misconduct affecting the price of the spot bitcoin
             held by that ETP,” it provided no support for these claims.
             Grayscale Order, 87 Fed. Reg. at 40,317. Grayscale, however,
             provided evidence that CME bitcoin futures prices are 99.9
             percent correlated with spot market prices. Based on that data,
             fraud in the spot market would present identical problems for a
             bitcoin ETP and a bitcoin futures ETP. Bitcoin futures are
             derivatives of bitcoin and, as long as the market is efficient,
             arbitrage will drive the prices together.

                  The Commission neither disputed Grayscale’s evidence
             that the spot and futures markets for bitcoin are 99.9 percent
             correlated, nor suggested that market inefficiencies or other
             factors would undermine the correlation. The Commission
             faults Grayscale for failing to provide other types of evidence.
             Without further explanation, however, the Commission’s
             assertion that “information in the record for this filing does not
             support [the] claim” that “any fraud or manipulation in the
             underlying [spot] market will affect both products in the same
             way” is unreasonable. See id. The Commission’s unexplained
             discounting of the obvious financial and mathematical
             relationship between the spot and futures markets falls short of
             the standard for reasoned decisionmaking. See Menkes v. DHS,
             486 F.3d 1307, 1313 (D.C. Cir. 2007) (“[I]t would be
             presumably arbitrary and capricious … to ignore an obvious
             [fact].”).
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                                            15
                                            2.

                  Even if the spot and futures markets are highly correlated
             and the respective ETPs are functionally identical, the
             Commission maintained Grayscale would not pass the first
             prong of the significant market test. Why? The Commission
             claimed “correlation analysis” does not “provide evidence of
             the causal economic relationship of interest: namely, whether
             fraud or manipulation that impacts spot bitcoin would also
             similarly impact CME bitcoin futures contracts.” Grayscale
             Order, 87 Fed. Reg. at 40,318 n.224. The Commission’s
             explanation is insufficient.

                  When approving the bitcoin futures ETPs, the
             Commission acknowledged the risk of fraud to bitcoin futures
             from “trading outside of the CME bitcoin futures market,” such
             as trading in the spot market. Teucrium Order, 87 Fed. Reg. at
             21,679; Valkyrie Order, 87 Fed. Reg. at 28,851. This was an
             important problem to address for the futures ETPs because
             futures markets “are hard to manipulate … because of actual
             and potential competition from the cash commodity,” so the
             primary risk is often in the spot market. See Frank H.
             Easterbrook, Monopoly, Manipulation, and the Regulation of
             Futures Markets, 59 J. Bus. S103, S103 (1986). Fraud and
             manipulation in the bitcoin spot market pose a similar risk to
             both futures and spot products. Because the spot bitcoin market
             and the CME bitcoin futures market are so tightly correlated, a
             price distortion in the spot market will be reflected in the price
             of the futures market. After all, futures are derivatives of the
             spot market.

                 The SEC did not suggest the 99.9 percent correlation was
             coincidence or caused by some third variable. We recognize
             the basic principle that mere correlation does not equal
             causation. But here the correlation was based on the logical and
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             mathematical connection between the spot and futures markets.
             In this context, the almost perfect correlation was at least strong
             evidence of causation. And the Commission failed to explain
             why a surveillance sharing agreement with the CME was
             sufficient to protect bitcoin futures ETPs from potential fraud,
             but not Grayscale’s proposed bitcoin ETP.

                  The Commission also faulted NYSE Arca for failing to
             demonstrate the futures market leads the spot market.
             Grayscale Order, 87 Fed. Reg. at 40,313. Because evidence of
             the lead/lag relationship between the two markets was
             “inconclusive,” the Commission doubted the connection
             between the two markets. Id. Whatever the reality of the
             lead/lag relationship, however, by requiring this evidence from
             Grayscale, the Commission failed to treat like cases alike.
             When approving the bitcoin futures ETPs, the Commission
             found evidence of a lead/lag relationship to be “unnecessary.”
             See Teucrium Order, 87 Fed. Reg. at 21,679 n.47; Valkyrie
             Order, 87 Fed. Reg. at 28,851 n.43. Yet when rejecting
             Grayscale’s bitcoin ETP, the Commission said it considered
             “the lead/lag relationship … to be central to understanding
             whether it is reasonably likely that a would-be manipulator of
             a spot bitcoin ETP would need to trade on the … futures
             market.” Grayscale Order, 87 Fed. Reg. at 40,313 n.163
             (emphasis added). The Commission offered no compelling
             reason why the lead/lag relationship between spot and futures
             bitcoin markets was central for assessing the potential for fraud
             and manipulation of bitcoin ETPs and yet unnecessary for
             assessing bitcoin futures ETPs.

                 When denying Grayscale under the first prong of the
             significant market test, the Commission failed to reasonably
             explain why it approved the listing of two bitcoin futures ETPs
             but not Grayscale’s similar proposed bitcoin ETP. Without
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                                           17
             such an explanation, inconsistent treatment of similar products
             is arbitrary and capricious.

                                           D.

                  The Commission also applied the second prong of the
             significant market test unreasonably. The Commission
             concluded there was a risk that trading in Grayscale would be
             “the predominant influence on prices” in the CME bitcoin
             futures market and therefore that Grayscale could not meet the
             second prong of the significant market test. Id. at 40,313. We
             conclude the Commission’s reasons for differentiating
             Grayscale from the bitcoin futures ETPs again fall short.

                                           1.

                  First, the Commission failed to explain how the proposed
             Grayscale bitcoin ETP would be the predominant influence on
             the price of bitcoin futures traded on the CME. The
             Commission’s primary argument appears to be that because
             Grayscale had substantial assets, valued at “approximately $30
             billion,” with potential for further growth, Grayscale might
             dwarf the CME market for bitcoin futures, which had
             “approximately $1.7 billion” of open contracts. Id. at 40,314.
             The Commission also expressed concern about the relative
             trading volume between Grayscale and the CME bitcoin
             futures market. According to the Commission, Grayscale
             provided no explanation for “why a single bitcoin ETP with
             trading volume close to one-quarter that of the CME bitcoin
             futures market [was] not likely to be the predominant influence
             on prices in that market.” Id.

                 The Commission, however, did not adequately connect the
             value of Grayscale’s assets to the conclusion that those assets
             would influence prices in the CME futures market. Because
             Grayscale owns no futures contracts, trading in Grayscale can
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                                            18
             affect the futures market only through the spot market. See
             Brief of Amicus Curiae NYSE Arca for Petitioner 17 (“[T]he
             only way in which the Trust could conceivably be the
             predominant influence on prices in that market is by virtue of
             its effect on prices in the bitcoin spot market.”). But Grayscale
             holds just 3.4 percent of outstanding bitcoin, and the
             Commission did not suggest Grayscale can dominate the price
             of bitcoin. In light of these economic realities, the Commission
             should have explained why it considered the relevant
             comparison to be the value of Grayscale’s assets as a
             percentage of the total value of the CME bitcoin futures
             market. Simply faulting NYSE Arca for not directly addressing
             that ratio was neither “reasonable” nor “reasonably explained.”
             See Prometheus Radio Project, 141 S. Ct. at 1158. An agency
             may ask a regulated party for further information, but such
             requests must be reasonably related to the relevant regulatory
             standards.

                  The Commission also expressed concern that Grayscale
             underestimated its potential for growth if approved as an ETP,
             and that if such growth occurred the ETP could overwhelm the
             futures market. Grayscale Order, 87 Fed. Reg. at 40,313–14.
             Yet the Commission did not adequately justify this concern in
             light of the record before it. As the Commission acknowledged,
             Grayscale owns only 3.4 percent of outstanding bitcoin. Id. at
             40,314. And bitcoin is a deep and liquid market. One comment
             included evidence that bitcoin had an average daily trading
             volume of “approximately $45 billion, which … is
             significantly higher than that of the largest equity stocks.” Id.
             at 40,304. This is the kind of evidence the Commission has
             repeatedly relied on to approve other ETPs. See, e.g., Gold
             Order, 69 Fed. Reg. 64,614, 64,619 (Nov. 5, 2004) (approving
             a gold ETP in part because the spot market was “extremely
             deep and liquid”). The Commission did not explain why
             Grayscale underestimating the growth potential of its spot
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             assets posed a threat to the CME’s bitcoin futures market,
             which is the market under surveillance.

                  Moreover, the Commission dismissed evidence that could
             have mitigated concerns about Grayscale growing to have the
             predominant influence on bitcoin prices. Because future
             inflows cannot be predicted, NYSE Arca compared the
             “historical inflows” of bitcoins into Grayscale to bitcoin’s
             “market capitalization.” Grayscale Order, 87 Fed. Reg. at
             40,313. The comparison showed that while Grayscale
             experienced nearly $7 billion of inflows over a two-year
             period, “the market capitalization of bitcoin grew by $721
             billion” during the same time period. Id. This evidence
             suggested Grayscale was unlikely to dominate prices because
             the spot bitcoin market was huge and growing faster than
             Grayscale. In addition, the record included evidence that,
             among “global commodity ETPs,” Grayscale would “rank
             fourth … in assets under management and seventh in … trading
             volume,” so its size was not unusually large. See id. at 40,313
             n.168. By presenting this evidence, Grayscale and NYSE Arca
             sought to demonstrate that Grayscale’s ETP would have a
             minimal impact on the bitcoin spot price because of its
             relatively small share of the large and fast-growing bitcoin
             market.

                  Grayscale’s      evidence      directly    addressed     the
             Commission’s concerns—if trading in Grayscale has a minimal
             impact on the price of bitcoin, it necessarily follows that
             trading in Grayscale will have a minimal impact on bitcoin
             futures. If the Commission thought these economic realities do
             not hold true for the bitcoin market such that trading in
             Grayscale would be the predominant influence on the CME
             futures market, it failed to sufficiently explain this conclusion
             in light of the record.
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                                           20
                                            2.

                  The Commission also failed to treat like cases alike under
             the second prong of the significant market test. With respect to
             the bitcoin futures ETPs, the Commission found the second
             prong was satisfied because “the CME bitcoin futures market
             ha[d] progressed and matured significantly,” so trading on a
             single ETP was unlikely to be the predominant influence on the
             CME. Teucrium Order, 87 Fed. Reg. at 21,680 (cleaned up);
             see also Valkyrie Order, 87 Fed. Reg. at 28,853 (recognizing
             “the maturation of the CME bitcoin futures market”). This
             reason, however, applies equally to Grayscale.

                  The Teucrium and Valkyrie bitcoin futures ETPs hold
             assets that trade on the CME, namely bitcoin futures contracts.
             When explaining why trading in these ETPs would not
             predominantly influence prices in the CME futures market, the
             Commission focused on the robustness of that market. The
             Commission emphasized the size and liquidity of the CME
             futures market, finding that “nearly every measurable metric
             related to” bitcoin futures had “trended consistently up.”
             Teucrium Order, 87 Fed. Reg. at 21,680. Trading in bitcoin
             futures increased from $737 million in December 2017 to $44.6
             billion in December 2021. Id. at 21,680–81. As the
             Commission concluded, the CME was a “large futures market,”
             and so there was little reason to think trading of a single ETP
             would be the predominant influence on prices in that market.
             Id. at 21,680.

                  The Commission failed to explain why this reasoning does
             not similarly apply to Grayscale. NYSE Arca has the same
             surveillance sharing agreement with the CME, and the CME
             bitcoin futures market is robust, as the Commission recognized
             in its previous orders. Because the spot market is deeper and
             more liquid than the futures market, manipulation should be
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                                             21
             more difficult, not less. The Commission’s reasons for
             approving the Teucrium and Valkyrie ETPs seem to apply
             equally to Grayscale, but Grayscale’s listing was denied.
             Lacking a “reasonable and coherent explanation for the[se]
             seemingly inconsistent results,” the Commission’s order in this
             case is arbitrary and capricious. Baltimore Gas, 954 F.3d at
             286; see also Cnty. of L.A. v. Shalala, 192 F.3d 1005, 1022
             (D.C. Cir. 1999) (“An agency action is arbitrary when the
             agency offers insufficient reasons for treating similar situations
             differently.”) (cleaned up).

                                           ***

                 To avoid arbitrariness and caprice, administrative
             adjudication must be consistent and predictable, following the
             basic principle that similar cases should be treated similarly.
             NYSE Arca presented substantial evidence that Grayscale is
             similar, across the relevant regulatory factors, to bitcoin futures
             ETPs. The Commission failed to adequately explain why it
             approved the listing of two bitcoin futures ETPs but not
             Grayscale’s proposed bitcoin ETP. In the absence of a coherent
             explanation, this unlike regulatory treatment of like products is
             unlawful. We therefore grant Grayscale’s petition for review
             and vacate the Commission’s order.

                                                                   So ordered.
